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                                                                      BECA
                                                     Brevard Electronic Court Application

                               Case 05-2023-CA-018273-
                                                                                     Case Type: BT
                           Number: XXXX-XX
                         Date Filed: 03/05/2023                                     Case Status: ORIGINAL PENDING
                                                                                                 MICHELLE
                       Status Date: 03/05/2023                                           Judge:
                                                                                                 NABERHAUS
                                                                                       Charging
                       Jurisdiction: CENTRAL                                                     NONE
                                                                                        Agency:

                                                                     Participants
                                                      DL                                                   Address
               Type                Name                         Race Gender DOB           Address 1                    City State Zip
                                                    Number                                                    2
          DEFENDANT                                                                                                  NEW YORK, NY
                           UPSOLVE INC                                               205 HUDSON ST FL 7
          (1)                                                                                                        10013-1836
          DEFENDANT                                                                                                  NEW YORK, NY
                           PAVULURI ROHAN                                            29 7TH AVE S APT 4B
          (2)                                                                                                        10014-3938
          DEFENDANT        PRESIDENT FELLOWS                                         1350 MASSACHUSETTS              CAMBRIDGE, MA
          (3)              HARVARD COLLEGE                                           AVE SUITE 980                   02138-3800
          ATTORNEY
                           PETERS MARK S                                             5450 VILLAGE DR                 VIERA, FL 32955
          FOR: D3
          DEFENDANT                                                                                                  NEW HAVEN, CT
                           YALE UNIVERSITY                                           2 WHITNEY AVE FL 6
          (4)                                                                                                        06510-1220
          ATTORNEY                                                                                                   VERO BEACH, FL
                           MILLS ELISA C                                             2001 US HIGHWAY 1
          FOR: D4                                                                                                    32960-5493
          ATTORNEY         MURPHY LEWIS                                                                              VERO BEACH, FL
                                                                                     2001 US HIGHWAY 1
          FOR: D4          WILSON JR                                                                                 32960-5493
          DEFENDANT        Y COMBINATOR                                                                              TALLAHASSEE, FL
                                                                                     1201 HAYS ST
          (5)              MANAGEMENT LLC                                                                            32301-2699
          ATTORNEY                                                                                                   FORT MYERS, FL
                           MORGAN JACK C III                                         2222 2ND ST
          FOR: D5                                                                                                    33901-3026
          DEFENDANT        SCHMIDT ERIC                                                                              MIAMI BEACH, FL
                                                                                     W SAN MARINO DR
          (6)              EMERSON                                                                                   33139-1134
                                                                                     NO ADDRESS
          PLAINTIFF (1) DOE JOHN 1                                                   INFORMATION
                                                                                     AVAILABLE
          ATTORNEY         BERES                                                                                     MELBOURNE, FL
                                                                                     1600 SARNO RD STE 1
          FOR: P1          CHRISTOPHER                                                                               32935-4990
                                                                                     NO ADDRESS
          PLAINTIFF (2) DOE JOHN 2                                                   INFORMATION
                                                                                     AVAILABLE
          ATTORNEY         BERES                                                                                     MELBOURNE, FL
                                                                                     1600 SARNO RD STE 1
          FOR: P2          CHRISTOPHER                                                                               32935-4990



                                                                  Register of Actions
           Event          Document                                                                                   Page
                                                  Description                                                                 Amount
           Date           Number                                                                                     Count
           03/05/2023               1             COVER SHEET                                                          3
           03/05/2023               2             COMPLAINT WITH DEMAND FOR JURY TRIAL                                62
           03/05/2023                             PROPOSED SUMMONS TO BE ISSUED                                        1
           03/05/2023                             PROPOSED SUMMONS TO BE ISSUED                                        1
           03/05/2023                             PROPOSED SUMMONS TO BE ISSUED                                        1
           03/05/2023                             PROPOSED SUMMONS TO BE ISSUED                                        1
           03/05/2023                             PROPOSED SUMMONS TO BE ISSUED                                        1
           03/05/2023                             PROPOSED SUMMONS TO BE ISSUED                                        1
                                                  ADMINISTRATIVE ORDER 21-24 PROPOSED CASE MANAGEMENT
           03/05/2023               3                                                                                  3
                                                  PLAN
                                                  ADMINISTRATIVE ORDER 21-24 PROPOSED CASE MANAGEMENT
           03/05/2023               4                                                                                  4
                                                  ORDER

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           03/05/2023                             ASM: CIRCUIT CIVIL FILING FEE                                     2   401.00
           03/05/2023                             ASM: ISSUE CIRCUIT SUMMONS                                        2    60.00
           03/05/2023                             ORIGINAL FILING UPDATED                                           2
           03/06/2023               5             SUMMONS ISSUED VIA E-MAIL TO ATTORNEY                             1
           03/06/2023               6             SUMMONS ISSUED VIA E-MAIL TO ATTORNEY                             1
           03/06/2023               7             SUMMONS ISSUED VIA E-MAIL TO ATTORNEY                             1
           03/06/2023               8             SUMMONS ISSUED VIA E-MAIL TO ATTORNEY                             1
           03/06/2023               9             SUMMONS ISSUED VIA E-MAIL TO ATTORNEY                             1
           03/06/2023              10             SUMMONS ISSUED VIA E-MAIL TO ATTORNEY                             1
           03/11/2023              11             RETURN OR PROOF OF SERVICE                                        1
           03/14/2023              12             RETURN OR PROOF OF SERVICE                                        1
           03/21/2023              13             NOTICE OF APPEARANCE AND DESIGNATION OF E-MAIL ADDRESS            2
           04/03/2023              14             MOTION TO DISMISS                                                 8
           04/05/2023              15             MOTION TO EXTEND TIME                                             2
                                                     FAXED COPY
           04/10/2023              17             MOTION FOR DEFAULT BY CLERK                                       1
           04/10/2023              18             MOTION FOR DEFAULT BY CLERK                                       1
           04/17/2023              16             RETURN OR PROOF OF SERVICE                                        1
           04/17/2023              20             MOTION FOR DEFAULT BY CLERK                                       1
           04/17/2023              21             AFFIDAVIT IN OPPOSITION                                           3
                                                     TO MOTION FOR EXTENSION OF TIME
           04/17/2023              22             AFFIDAVIT IN OPPOSITION                                           2
                                                     TO MOTION FOR EXTENSION OF TIME
           04/20/2023              23             NOTICE OF OPPOSITION                                              8
                                                     TO MOTION TO DISMISS
           04/24/2023              24             MOTION TO DISMISS                                                 3
           04/24/2023              25             NOTICE OF APPEARANCE AND DESIGNATION OF E-MAIL ADDRESS            2
           04/25/2023              19             CLERKS CERTIFICATE OF DEFAULT NOT ENTERED                         2
           05/02/2023              29             NOTICE OF APPEARANCE AND DESIGNATION OF E-MAIL ADDRESS            1
           05/03/2023              30             MOTION TO STRIKE                                                  6
           05/03/2023              31             MOTION FOR DEFAULT BY CLERK                                       1
           05/03/2023              32             MOTION FOR DEFAULT BY COURT                                       2
           05/03/2023              33             MOTION FOR DEFAULT BY CLERK                                       1
           05/03/2023              34             MOTION FOR DEFAULT BY COURT                                       2
           05/05/2023              35             MOTION TO DISMISS                                                 8
           05/05/2023              36             NOTICE TO WITHDRAW MOTION                                         2
           05/09/2023              26             NOTICE OF HEARING                                                 2
           05/09/2023              39             NOTICE OF OPPOSITION                                              7
           05/09/2023              40             NOTICE OF FILING RETURN OF SERVICE                                3
           05/11/2023              27             NOTICE OF HEARING                                                 2
           05/11/2023              28             AMENDED NOTICE OF HEARING                                         2
           05/16/2023              37             CLERKS CERTIFICATE OF DEFAULT NOT ENTERED                         2
           05/16/2023              38             CLERKS CERTIFICATE OF DEFAULT NOT ENTERED                         2
           07/07/2023                             CAL:HEARING                                                       2
                                                     CALENDAR POSTING ON 05-09-2023
                                                             Total Number of Document Pages                       173

                                                                      Complaints
           Complaint                                               Disposition
                                     Cause of Action                                          Disposition Description
             Date                                                     Date
          03/05/2023 BUSINESS TORT

                                                                      Financials
                    Name                    Receivable        Amount Assessed Amount Waived Amount Paid Due Date Balance
          DOE JOHN 1                    CIR CIV FILING FEE               $401.00          $0.00         $401.00          $0.00
          DOE JOHN 1                    ISSUE CIR SUMMONS                 $60.00          $0.00          $60.00          $0.00
          TOTALS:                                                       $461.00           $0.00        $461.00          $0.00


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          TOTAL AMOUNT
          ELIGIBLE FOR A                                                                                                      $0.00
          CIVIL LIEN:



                                                                   Payments
                                                                               Receipt                   Payment
           Receipt Party             Memo            Event Description                     Amount                    Received From
                                                                                Date                       Type
                              EFILING #           PMT: CIRCUIT CIVIL FILING                            REGULAR       BERES
          S241516      P1                                                     03/07/2023   $401.00
                              168052697           FEE                                                  CASH          CHRISTOPHER
                              EFILING #           PMT: ISSUE CIRCUIT                                   REGULAR       BERES
          S241516      P1                                                     03/07/2023      $60.00
                              168052697           SUMMONS                                              CASH          CHRISTOPHER

                                                                 Court Schedule
             Court          Court                                               Court Room
                                       Event Description                                                 Judge Name         User
             Date           Time                                                Description
                                                                               MOORE JUSTICE             MICHELLE
          07/07/2023     10:30 AM     CAL:HEARING                                                                           ajg90
                                                                               CENTER                    NABERHAUS




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